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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA                                            DECISION AND ORDER
                                                                    & REPORT AND
                 v.                                                 RECOMMENDATION
                                                                    15-CR-6079 (FPG)
RICO MCGEE,
                        Defendant.



                                  Preliminary Statement

         On July 21,       2015, defendant Rico McGee (hereinafter "McGee"

or      "defendant"}       was    charged      by     Superseding       Indictment           ("the

Indictment")           with Hobbs Act Conspiracy (Count I),                   two counts of

Attempted Hobbs Act Robbery                  (Counts II and III),             and Use of a

Firearm During and               in Relation to a            Crime of Violence          (Count

IV) .     See Indictment           (Docket # s) .        On February 29,          2016,       the

defendant's           counsel     at   the    time,     Kevin      McKain,     Esq.,     filed

omnibus motions including a motion to suppress statements.                                    See

Docket # 36.            Defendant thereafter was assigned new counsel, and

on June 20,           2016 defendant's omnibus motions were supplemented.

See Docket # 59.               The government responded to the first set of

motions on March 25,              2016 and to the second set of motions on

July 5,      2016.        See Docket ##        59,     62.      On July 11,       2016,       the

Court      heard        oral     argument      and     resolved        the    majority         of

defendant's           omnibus motions        on the     record.        See Docket       #     64.

The      Court        reserved    decision     on     defendant's        motions       (1)      to

dismiss the Indictment,                (2)   for a bill of particulars,                (3)     for
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grand jury disclosure,                (4)    for severance,                 and    (5)    to suppress

statements.            The    Court     held        an        evidentiary          hearing       on     the

suppression       motion       on    September           7,     2016.         See    Docket        #    70.

Based on the record now before the Court,                                   the following is my

Report and Recommendation and Decision and Order for defendant's
    ' .      '     1
remaining motions.

        Motion to Dismiss the Indictment:                           All four counts of the

Indictment relate to McGee's alleged participation in two "home

invasion" robberies occurring on October 8, 2014 and November 4,

2014.      Count       I    alleges    that        McGee       conspired with                 others    "to

obstruct,        delay       and    affect         commerce"        and       the        "movement       of

articles and commodities in commerce" by robbing money and drugs

from     individuals          "engaged        in       the     unlawful           distribution          and

possession        of       controlled         substances,           including             heroin        and

marijuana   11
                  in       violation        of     18    U.S.C.         §     1951 (a),         commonly

referred to as the Hobbs Act.                      Count II alleges that the October

8 robbery violated the Hobbs Act and Count III alleges that the

November 4 robbery violated the Hobbs Act.                                    Finally,          Count IV

alleges    that McGee          knowingly and unlawfully used,                             carried and

brandished a handgun during and in furtherance of the November 4

robbery,     "in furtherance"           of "a crime of violence"                          -    the Hobbs

Act robbery.        See Indictment (Docket # 8).

' By Order of Hon. Frank P. Geraci, United States District Judge,
dated October 9, 2015, all pretrial matters in the above-
captioned case have been referred to this Court pursuant to 28
U.S.C. §§ 636(b) (1) (A)-(B). See Docket# 20.

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        The common denominator in all four counts is a violation of

the Hobbs Act which,                  in turn,          requires that the charged robbery

be one that "affects" interstate commerce.                                       It is this nexus to

interstate              commerce      that        McGee       claims        is    lacking        from    the

criminal conduct alleged in the Indictment.                                        Unfortunately for

McGee,       this        Court   is    not       writing       on a        "clean slate"          and,    as

interesting as McGee's arguments may be in a discussion of the

limits of Congress's commerce clause power,                                      his contentions are

inconsistent with established Second Circuit and Supreme Court

precedents                 at    least       at     this       particular          juncture        of    the

prosecution.

        As a           general matter,           it is settled that. Congress has the

power        to        control     purely         loca'l      drug        distribution       activities

because such local activities "are part of an economic 'class of

activities'              that    have        a     substantial             effect     on     interstate

commerce.         11
                        Gonzales v. Raich, 545 U.S. 1, 17 (2005)                                 In Taylor

v.    United           States,          U.S.                 136     S.     Ct.    2074    (2016),       the

Supreme Court addressed the contours of the interstate commerce

requirement found in the Hobbs Act.                                Mr. Taylor was charged with

two home invasions of drug dealers, seeking to rob them of drugs

and drug proceeds.                 Taylor argued that the government failed to

satisfy the interstate commerce element of the Hobbs Act because

it     had        not     proven      that        the       drugs    subject        to     the     robbery

"originated or were destined for sale out of State," or that the


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victim drug dealers               "operated an interstate business."                          Id.    at

2080.       Relying         on    its       holding      in     Raich,       the    Supreme       Court

rejected Taylor's            commerce arguments.                  The       Court explained its

holding was simply a logical extension of Raich:

        The case now before us requires no more than that we
        graft our holding in Raich onto the commerce element
        of the Hobbs Act. The Hobbs Act criminalizes robberies
        affecting "commerce over which the United States has
        jurisdiction." § 1951 (b) (3).    Under Raich, the market
        for marijuana, including its intrastate aspects, is
        "commerce     over   which    the   United    States    has
        jurisdiction."      It therefore follows as a        simple
        matter of logic that a robber who affects or attempts
        to affect even the intrastate sale of marijuana grown
        within   the   State   affects   or attempts    to   affect
        commerce     over    which   the    United    States    has
        jurisdiction.

Id.      Thus,    when       a    robber         tries    to    steal       drugs     from    a    drug

dealer,       "proof     of      such       an     attempt       in     itself      supports         the

conclusion       that       the       robber       attempted           to    affect     interstate

commerce,       and    the       robber       is    therefore         convictable       under        the

Hobbs Act."       United States v. Lee, 834 F.3d 145 (2d Cir. 2016).

        The foregoing is not to say that the defendant's arguments

here    are     irrelevant,           but    they       are    certainly · premature.                The

Court     in Taylor explained that                      its   holding. "does not make                the

commerce      provision          of   the     Hobbs      Act    superfluous:"            Taylor       at

2081.      Indeed,     there may be Hobbs Act trials where the conduct

proven,       "even    in     the     aggregate,          may    not     substantially            affect

commerce.u       Id. at 2081.               But the Court also made clear that the

nature     of    the    proof         needed       to    satisfy       the     commerce       element


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focuses not on the specific interstate actions of the defendant,

but on the nature of the defendant's activities.                                            " [W] here the

target of a robbery is a drug dealer, proof that the defendant's

conduct in and of itself affected or threatened commerce is not

needed.         All        that    is       needed        is    proof        that     the     defendant's

conduct        fell        within       a     category           of     conduct        that,       in      the

aggregate, had the requisite effect."                                 Id.

        McGee     also       moves       to       dismiss       the         Indictment       because       the

substantive        counts         fail       to    allege        "the        specific       mens     rea     to

violate the statute."                   See Def.'s Omnibus Mot.                      {Docket# 59) at

59.       In    response,          the      government           acknowledges           that       criminal

intent     must       be    alleged         either        explicitly           or    implicitly         in   a

Hobbs Act charge,             but argues that the Indictment is sufficient

because it conveys the required mens rea element through the use

of    the term        "robbery"         which,       according to the government,                          has

been     held     to       imply     knowing         and        willful        conduct.        See      Gov't

Response (Docket # 62) at 21.

        Under Second Circuit precedent,                               the government's position

is correct.           The Indictment is sufficient to assert the mens rea

element of        robbery even though it                         does       not     contain the words

"knowingly 11         or     "willfully."                      The     Indictment           specifically

references        "robbery"         and its statutory definition,                            and thereby

imputes the necessary mens rea therein. 2                                    The Second Circuit has


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     "The term     'robbery'         means the unlawful taking or obtaining of

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ruled that the statutory definition of "robbery"                                                  in 18 U.S.C.           §

1951 (b) (1)            implies         "knowing"          and         "willful"             conduct,          and      an

Indictment               is     sufficient           even         if     it     does          not           explicitly

reference           those        terms.         See       United       States       v.        Jackson,          513     F.

App'x        51,        55    (2d    Cir.       2013),         cert.     denied,             133       S.     Ct.     1848

(2013);       see also United States v.                           Tobias,       33 F.             App'x 547,           549

(2d     Cir.            2002),       cert.       denied,          538     U.S.       933            (2003)           ("The

indictment tracked the language of 18 U.S.C.                                             §    1951,          using the

term    'robbery, '             ·which      necessarily              implies     knowing               and     willful

conduct.");              United       States         v.    McCoy,        14·CR-6181                EAW,        2016     WL

6952351,           at    *3-5       (W.D.N. Y.       Nov.       28,     2016)    ("the grand                   jury in

this    case pla.inly determined                          that       there    was    probable                 cause     to

believe       that Defendants                   committed ·a Hobbs Act                       robbery

Under        settled             Second         Circuit          precedent,              this           is     plainly

sufficient              to    allege      the     mens         rea     element      of. "knowingly"                   and

"willfully" for a Hobbs Act violation") .

        It         is        therefore          my        Report        and      Recommendation                      that

defendant's              motion      to     dismiss         the       Indictment             as    a        whole,    and

individual counts, be denied.

       Motion            for     Bill     o.f    Particulars:             Defendant                has. requested


personal property from the person or in the presence of another,
against his will, by means of actual or ·threatened force, or
violence, or fear of injury, immediate or future, to his person
or property, or property in ·his custody or possession, or the
person or property of a relative or member of his family or of
anyone in his company at the time of the taking or obtaining."
18 u.s.c. § 195l(b) (1).

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that,       should the motion to dismiss the Indictment be denied,                                          the

government provide a                bill of particulars.                        Defendant           "requests

particularization as               to the acts of this defendant and the co-

conspirat0rs             alleged       within          the    conspiracy             affording       federal

jurisdiction."                 See Def.'s         Omnibus Mot.             (Docket#           59)    at    5-.9.

The defendant,. s          motion papers               list twenty-six particularization

demands,         including the names,                  roles and acts of co-conspirators,

specific          acts     and     conduct         of        the     defendant,            quantities        of

controlled          substances         and     monies          involved         in    each     count,       the

names       of    alleged victims,           and the manner in which the actions

affect interstate commerce.                       Id. at 6-8.

        As       discussed       above,      to    meet        the    commerce         element        of    the

Hobbs Act under Taylor,                  it is enough for the government to prove

that the          "defendant knowingly stole or attempted to steal drugs

or    drug       proceeds,        for,    as       a    matter        of       law, . the      market       for

illegal          drugs    is     commerce         over       which        the    United ·States             has

jurisdiction."             Taylor,        136 S.         Ct at 2081             (internal quotations

omitted) .           Given       the     nature         of     the    required             proof, · McGee's

argument          that    particularization                  is     required          to     discover       the

nexus to federal jurisdiction is misplaced as a pretrial motion.

The     government         has     disclosed            that       McGee        is    alleged        to    have

at tempted         to    rob     drugs    and          money       from    a    known        drug    dealer,

which,       if proved,          will establish the                  required . commerce element

for     a    Hobbs       Act    robbery.           See       United        States      v.     Larson,       No.



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07CR304S,         2009        WL     899435,        at       *9        (W.D.N.Y.        Mar.      26,        2009)

(denying particularization of the interstate commerce nexus· in a

Hobbs Act Indictment because it is "an evidentiary                                               matter for

the Government to prove                     [at trial]"); see also United States v.

Davis,      No.    06 CR.          911     (LBS),    2009 WL 637164, at                    *13     (S.D.N.Y.

Mar. 11, 2 OO9.)          (denying motion for bill of particulars where the

government disclosed that it intended to prove at trial that the

targets       of        the        robbery        were       engaged          in        interstate            drug

trafficking,         stating "[w] e cannot say that the offenses charged

or the theory of prosecution is so obscure that defendants will

be hindered in preparing their defenses").

       As    to the other aspects of                         the defendaht' s              demands,           with

one      exception            discussed            below,          I       find      that         additional

particularization is not required.                                "[A]     bill of particulars is

not      necessary            where        the      Government              has      made         sufficient

disclosures         concerning              its     evidence            and      witnesses         by        other

,means."          United       States       v.                           F. 3d     151,    163      (2d       Cir.

2 0 04) .     Moreover,            bills ·of        particulars             are     frequently          deemed

inappropriate            in        cases     involving            conspiracies.             "Demands           for

particulars regarding the formation of a conspiracy have almost

universally been denied.                          Matters         such as         the     exact    time and

place of the overt acts and names of the persons present are not

properly the subject of bill of particulars."                                           United States v.

Montalvo,         No.     110CR000366-RJA-JJM,                     2014       WL     3894377,           at     *12


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(W.D.N.Y.       Apr.     16,       2014)        (internal        quotations         and    citations

omitted).

        There    is    one     area      discussed          during      the    motions      argument

where    I   find      additional          particularization to                be    necessary       to

allow the defendant to adequately prepare his defense.                                         During

the    motions        hearing,          defense       counsel         expressed      concern      over

whether Counts II and III of the Indictment involve attempted or

completed robberies.                Both are charged as attempts, but defense

counsel stated that a non-charged co-conspirator pled guilty to

burglary     charges         in     state       court       related      to    the    same     events

charged in the instant Indictment.                           In addition, defense counsel

stated that he has                no     information about              the    items alleged to

have been taken, or information regarding the agreements, within

the conspiracy,          to take them.                    On these limited topics I . find

further particularization to be appropriate.                                   Accordingly,         the

government      should disclose                 to    the    defense      within      thirty      (30)

days of this Order                (1)   whether either of the charged robberies

were     in· fact       completed          and        (2)    a    list    of    the       items     and

quantities that were alleged to have been take:n and/or targeted

by the defendant in each of the charged robberies.

        For the reasons stated above,                        it is my Decision and Order

that    defendant's          motion       for     a       bill   of    particulars        is   denied

except for the specific particulars identified herein.

       Motion for Grand Jury Disclosures:                              Defendant argues that,


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should        dismissal     of    the    Indictment      be    denied,        he     should    be

entitled to extensive inspection of the grand jury proceedings,

including the          instructions given to the grand jury,                        log books,

names of people who testified before the grand jury,                                the source

of "authorization" of persons in the grand jury room,                               the length

of    deliberation,        and    minutes    from      the    proceedings.           Defendant

has     not    provided      any       specific    reasons         or    facts     tending     to

support his broad requests other than an allegation that there

is     insufficient       legal    evidence       to   support      the    charges     on each

individual       count     of    the    Indictment.          See    Def. 's      Omnibus     Mot.

(Docket # 59) at 14-29.

        Grand jury proceedings receive a presumption of secrecy and

closure.        see In re Grand Jury Subpoena,                  103 F. 3d 234,         239    (2d

Cir.    1996).         "The burden is on the party seeking disclosure to

show a particularized need that outweighs the need for secrecy."

Id.      Here,     the    defendant's       reasons      for    seeking       disclosure       of

grand jury information are based on speculation and conje·cture -

clearly insufficient grounds on which to disturb the presumption

of grand jury secrecy.              See United States v. Yarborough,                   2007 WL

962926,       at *13     (W.D.N.Y. Mar. 28,        2007)      ("a review of grand jury

minutes is rarely permitted without specific factual allegations

of government misconduct") ;               see also United States v.                 Gonzalez,

No.    06 Cr.     726(WHP),       2008 WL 3914877,           at *6       (S.D.N.Y.    Aug.    26,

2008)     ("a defendant's          mere- speculation as             to    what     occurred    in



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front    of     the   grand     jury    does    not    warrant      inspection      of     the

minutes")        (internal      citation       omitted)        Therefore,      it     is    my

Decision        and   Order     that    defendant's        motion     for     grand        jury

disclosures be denied.

        Motion for Severance:            The defendant moves for severance of

his case from the named co-defendant pursuant to Rules 12(b) (5)

and 14 of the Federal Rules of Criminal Procedure.                           McGee argues

that he "will be severely prejudiced if compelled to go to trial

with the other named defendant"                     because he will be tainted by

the "sp;i.11 over" of evidence presented against his co-defendant,

and "will fall victim to an impermissible 'guilt-by-association'

analysis by the trial jury."                   See Def. ' s Omnibus Mot. .(Docket #

59)    at 40-44.        Defendant only          identifies one piece of               "spill

over"    evidence:      a   video      tape    which allegedly depicts              the    co-

defendant and an un-indicted third-party engaging in the alleged

robbery.        Defendant states that he is not depicted anywhere in

the video,       but has met and conversed with the co-defendant in

the past.         Defendant argues that he and his co-defendant will

have "antagonistic defenses" at trial.                    Id. at 43.

       'Rule 14 of the Federal Rules of Criminal Procedure provides

that if joinder of defendants "for trial appears to prejudice a

defendant or the government,              the court may order· separate trials

of    counts,    sever the defendants'               trials,   or provide any other

relief     that       justice    requires:"            Fed.    R.    Crim.     P.     14 (a) .


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However, as the Supreme Court has noted,                                 " [j] oint trials play a

vital     role          in   the    criminal           justice         system"     because      "[t]hey

promote       efficiency            and        serve        the    interests        of     justice       by

avoiding          the    scandal         and    inequity          of    inconsistent        verdicts."

Zafiro       v.    United        States,        506    U.S.       534,    537    (1993)       (internal

quotation marks and citations omitted) .                                  Accordingly,         although

the decision whether to grant severance lies within the district

court's       "sound         discretion,"            severance         should    be      granted      only

where    there          is   a   danger of           substantial prejudice,                 namely     "if

there is a          serious risk that a                     joint trial would compromise a

specific trial right of one of the defendants,                                      or prevent the

jury from making a reliable judgment about guilt or innocence."

Id. at 539.             Moreover, where,              as here,         "'spillover evidence'             is

alleged as          a    ground for a            Rule        14   severance,        the defendant's

burden       to     demonstrate           substantial             prejudice      resulting        in     an

unfair trial is heavy."                    United States v. Mullen, 243 F.R.D. 54,

74 (W.D.N.Y. 2006).

        Here,       defendant        has       not     met    his      "substantial burden"              of

proving       that       his      role     in    the        alleged      conspiracy        warrants       a

separate trial from the other defendant.                                  First,      the only piece

of "spillover evidence" that defendant has pointed to is a video

tape    of        his    co-conspirator              and     co-defendant        engaging        in    the

alleged robbery.                 As in any conspiracy trial, evidence regarding

the conduct of a co-conspirator as to the alleged events will be


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admissible        against             the    defendant        even if        the    two were           granted

separate trials,             because such proof would still be "relevant to

proving     the    nature             and    scope       of    the   conspiracy           in which        both

were,     to    differing               degrees,           involved."              United       States       v.

Spinelli,      352     F.3d 48,              56    (2d Cir.      2003).           "[D]iffering levels

of    culpability            and         proof       are       inevitable          in     any        multiple

defendant      trial         and,        standing          alone,     are     insufficient             grounds

for     separate       trials."                   Mullen,      243     F.R.D.       at     74        (citation

omitted) .        Nor       does         the      possibility         of     antagonistic            defenses

require severance, particularly where the trial judge can employ

other measures              to       minimize       or     eliminate        unfair       prejudice.          See

United    States v.                  O'Connor,       650      F.3d    839,    858        (2d    Cir.     2011)

("The     possibility                 that        codefendants         may        mount        antagonistic

defenses is not itself a ground for severance where the risk of

prejudice can be offset by less drastic measures                                                      such ai;i

limiting       instructions.")                     (internal         quotations           and     citations

omitted).         In    sum,           McGee       has    "failed to         overcome          the     federal

preference         that               defendants           who       are      indicted            together,

particularly           in        a     criminal          conspiracy,         be     tried        together."

United    States       v.        Gane,       No.     10-CR-90S,        2010       WL 4962955,           at    *3

(W.D.N.Y.      Nov.         24,        2010).        Accordingly,            it    is     my    Report       and

Recommendation that defendant's motion for severance be denied.

        Motion to Suppress Statements:                           Defendant seeks to suppress

statements that he made during and after his arrest.                                             The Court


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held        an        evidentiary          hearing        on       September           7,        2016.             The

government presented one witness to testify,                                      Special Agent Jason

Floyd.           See Docket # 70.

           (1)    Statements          Made       During      the     Course       of    McGee's          Arrest:

Special          Agent       Floyd        testified       that       he    arrested              defendant          on

October 8,            2015 at a high rise apartment building in Harlem, New

York,        pursuant          to     an    arrest      warrant           issued        by        the    .Western

District of New York.                       Hearing Transcript               ("Tr.")             (Docket # 76)

at    4.          During       the       arrest,     Floyd      asked       McGee           if    he     had       any

medical          conditions,          to    which McGee            responded           that       he    had been

shot in the hip in February.                            Tr.    at 7.         McGee also mentioned

that       he    had been drinking alcohol                     the        night    before,             and agent

Flynn       testified          that        he    smelled       the    odor        of    alcohol              on    the

defendant.             Id.         According to Agent Floyd,                  aside from the .smell

of     alcohol,              McGee        did     not     exhibit          any         other           signs        of

intoxication                such    as     slurred      speech       or     lack       of        coordination.

Tr.    at        8.     Based       on     the    defendant's         statement$              regarding            his

medical          issues,       Floyd       decided      to     transport ·McGee                   to    New       York

Presbyterian             Hospital          for    medical      clearance           before          taking          him

into custody.                Tr .. at 8-10.         Agent Floyd testified that while he

was with McGee in the elevator of the apartment building,                                                     McGee

asked him             "is    this about          that   thing in Rochester?"                           Tr.    at    6.

Floyd replied that we would "discuss the matter once·we got back

to my office."                 Id.        According to Floyd,               as his vehicle neared



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the hospital, McGee told him he was "car sick" and felt nauseas.

Upon arrival              at       the    hospital,       McGee vomited after exiting                         the

vehicle.            Tr.        at    19.         McGee    and        Agent    Floyd       arrived       at    the

hospital around 7: 3 O a. m.                       and McGee was thereafter . examined by

medical        personnel.                  McGee        received       a     medical ··clearance              for

custodial confinement                      form from the hospital at 8 :36 a.m. ·                            See

Gov't Ex. # 2.

        Based        on        the        foregoing       factual           findings,       I     find       that

McGee's        post-arrest                statement       in     the       elevator,       when    he    asked

Agent     Floyd       about           his       arrest,        "is    this     about       that    thing       in

Rochester?" is admissible because it was a spontaneous statement

and not prompted by interrogation .                                  "Miranda does not protect an

. accused      from       a     spontaneous             admission made             under    circumstances

not      induced              by     the        investigating              officers        or     during        a

conversation not                    initiated by the officers."                       United. States v.

Hayes,        120    F.3d          739,    744     (8th Cir.          1997)     (internal         quotations

and citations                 omitted) ,          The    test        for    determining whether               the

conduct of law enforcement agents amounted to "interrogation" is

whether        the    words          or        actions    of     law       enforcement        agents      "were

reasonably likely to                       elicit an       incriminating response."                      .Rhode

Island        v.     Innis,              446     U.S.     291,        302     (1980)        Interrogation

encompasses            both              express        questioning           and       its       functional

equivalent           and       includes          any     "practice          that    the    police        should

know     is    reasonably                 likely    to    evoke        an    incriminating          response



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from a      suspect."       Id.    at 300-02.        In making an assessment,                    the

Court must      consider       "the     totality of        the     circumstances           of    the

agents'     conduct."       United States v.             Cota,    953 F. 2d 753,          758    (2d

Cir. 1992)

      Here,    McGee was          never asked a          question by Agent Flynn in

the elevator -        in fact,         the opposite occurred -             McGee asked law

enforcement a        question.          There was also nothing adduced at the

suppression hearing to suggest                   that    law enforcement's words or

actions amounted to the functional equivalent of interrogation.

See   Innis,    446     U.S.      at    300-01     (an    interrogation            consists       of

"express questioning or its functional equivalent")

      (b)     Custodial       Interrogation        at     FBI     Office:          Agent    Floyd

testified that after McGee was discharged from the hospital,                                      he

brought the defendant to the FBI building in downtown Manhattan

for processing and interviewing.                    Tr.     at    11.      After McGee was

processed,     he was       taken to an FBI             interview room where he was

questioned      by    Agent       Floyd   and     Floyd's        partner.          Agent . Floyd

testified that        the     questioning began at               10: 28    a. m.    and     lasted

approximately ninety minutes.                    Tr. at 14-15.            Agent Floyd began

the   interview by reading the defendant his Miranda rights,                                     and

the defendant signed the advice of rights form                             (Gov' t    Ex.       # 3)

before questioning commenced.                Tr.    at 17.        The entire interview,

including the reading and signing of defendant's Miranda rights,

was videotaped,       and has been reviewed in full by the Court.                                See



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Gov' t Ex. # 1.

       McGee does not dispute that he was given Miranda warnings,

but argues that all statements made by him during his arrest and

post-arrest          interview       must      be      suppressed           because        they       were

involuntarily          made    because         he       was        under    the     influence           of

alcohol.         See    Def.'s       Omnibus        Mot.       (Docket       #     59)     at     50-53.

However,       the    evidenced adduced at                   the    suppression hearing and

documented       on     the        videotaped          confession           does     not        support

defendant's voluntariness claims.                         Even assuming for the sake of

argument       that    McGee       was    intoxicated          at     the    time        that    he   was

arrested,       or hours       later when he was                   interviewed,          there    is no

per se rule. that a confession given unde:i:- such circumstances is

involuntary.           "Courts have repeatedly rejected arguments that a

statement made in response                    to law enforcement                 interrogation is

involuntary          solely    due       to   the      confessor's           diminished          mental

state,     regardless         of     whether        the       mental       deficit        stems       from

intoxication or from psychological impairments."                                    United States

v.    Parker,    116 F.    Supp.         3d 159,       176    (W.D.N.Y.      2015)        (collecting

cases) .

       Here,    the interview was recorded so the Court does not have

to speculate as to the defendant's mental state .. · . McGee appears

lucid,     responsive,        alert and rational during·the interrogation.

The    interview       recording          shows     that       once Agent          Flynn        and    his

partner entered the            interview room,                they clearly advised McGee


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of his Miranda rights and thereafter McGee signed the Advice of

Rights form acknowledging his rights and agreeing to waive them.

No improper or coercive psychological ploys were used during the

questioning and law enforcement did not engage                      in any tactics

that took undue advantage of any diminished mental state.

       For   all     of     these     reasons,     it    is     my    Report     and

Recommendation that defendant's motion to suppress statements he

made to law enforcement on the day of his arrest be denied.



                                     Conclusion

       For   the     foregoing        reasons,     it    is     my    Report     and

Recommendation       that      defendant's        motions      to    dismiss     the

Indictment ahd individual counts be denied.                    It is my Decision

and Order that defendant's motion for a bill of particulars is

granted in part and denied in part.               It is my Decision and Order

that   defendant's motion for          grand jury disclosures be            denied.

It is my Report and Recommendation that defendant's motion for

severance     be     denied.          Finally,     it     is    my     Report    and

Recommendation that defendant's motion to suppress statements be

denied.

       SO ORDERED.



                                                         Magistrate Judge

Dated:       February 17, 2017
             Rochester, New York

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Pursuant to 28 U.S.C. § 636(b) (1), it is hereby
ORDERED, that this Report and Recommendation be filed with the Clerk
of the Court.

     ANY OBJECTIONS to this Report and Recommendation must be filed
with the Clerk of this Court within fourteen (14) days after receipt
of a copy of this Report and Recommendation in accordance with the
above statute and Rule 59(b) (2) of the Local Rules of Criminal
Procedure for the Western District of New York. 1

      The district court will ordinarily refuse to consider on de nova
review arguments, case law and/or evidentiary material which could
have been, but was not, presented to the magistrate judge in the first
instance.    See,   e.g., Paterson-Leitch Co.,     Inc. v. Mass. Mun.
Wholesale Elec. Co., 840 F.2d 985 (1st Cir. 1988).

     Failure to file objections within th03 specified time. or to
request an extension of such time waives the right to appeal the
District Court's Order.   Thomas v. Arn, 474 U.S. 140 (1985); Wesolek
v. Canadair Ltd., 838 F.2d 55 (2d Cir. 1988).

      The parties are reminded that, pursuant to Rule 59(b) (2) of the
Local Rules of Criminal Procedure for the Western District of New
York, "[w] ritten· objections         shall specifically identify the
portions of the proposed findings and recommendations to which
objection is made and the basis for each objection, and shall be
supported by legal authority."   Failure to comply with the provisions
of Rule 59{b} {2} may result in the. District Court's refusal to
consider the objection.

     Let the Clerk send a copy of this Order and a copy of the Report
and Recommendation to the attorneys for the Plaintiff and the
Defendant.

         SO ORDERED.


                                           JONATHAN W. FELDMAN
                                          ed States Magistrate Judge
Dated:        February 17, 2017
              Rochester, New York



     1
       Counsel is advised that a new period of excludable time pursuant to 18
U.S.C.  §  316l(h) (1) (D) commences with the filing of this Report and
Recornmendation.  Such period of excludable delay lasts only until objections
to this Report and Recommendation are filed or until the fourteen days
allowed for filing objections has elapsed.     United States v. Andress, 943
F.2d 622 (6th Cir. 1991), cert. denied, 502 U.S. 1103 (1992); United States
v. Long, 900 F.2d 1270 (8th Cir. 1990).



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